Case 3:20-cv-00133-JCH Document 140-1 Filed 08/04/20 Page 1 of 3

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A SWORN STATEMENT OF JAKUB MADEJ

 

1. I am twenty-four years old. I have been appointed as a Notary Public in the State of
Connecticut. I am competent to certify facts under oath. I understand what perjury is.
De I am plaintiff in the case titled Madej v. Yale University et al., numbered 3:20-cv-00133-

JCH. I am fully familiar with the factual and legal issues relevant to this action.

3. I have propounded the First Set of Interrogatories on Yale University on May 15, 2020. A
true copy of this Set is attached as Exhibit A. Yale University is due to answer the
Interrogatories on June 30, 2020. This deadline was extended from the original date of
June 15, 2020 with the Court’s permission (ECF #104).

4, I sent the First Set of Interrogatories to Mr. Noonan on May 15, 2020 via email and
certified mail. Attached was a certification of service under penalty of perjury.

Bs On June 24, 2020, Defendants submitted a “Defendants’ Amended Status Report” (ECF
#113). Mr. Noonan has signed this Report with my signature. I never authorized Mr.
Noonan to sign the Report, or any other paper, on my behalf. Mr. Noonan has never asked
for such permission. Before Mr. Noonan filed the Report with the Court, I specifically
stated that “I decline to sign a report that provides false information to the Court”. See
Exhibit B.

6. The Report lacked Mr. Noonan’s signature. Upon submission, Mr. Noonan sent an email
to me that only stated: “[o]ur report has already been filed.” See Exhibit B. When I
inquired why Mr. Noonan used my signature without authorization, and omitted his own,

he responded:

“I’m so sorry, Jakub. Yes that was a mistake. I will notify the Court
of the mistake and file our report. I don’t actually understand how
that happened, but it was certainly not intended. I apologize for the

error.”.

AFFIDAVIT-JUNE-30-2020-0001
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Case 3:20-cv-00133-JCH Document 140-1 Filed 08/04/20 Page 2 of 3

Sixteen minutes later, Mr. Noonan sent another message, where he attempted to explain

how my signature has appeared on a report that I did not approve:

I figured out what happened. I used your draft to create the redlined
version and therefore your signature was on it. Then, when you did
not agree to our revisions, I forgot to remove your electronic

signature. I will file an amended status report. I apologize for the
inconvenience.

In the Report, Mr. Noonan represented that Defendants provided the answer to the First
Set on June 11, 2020. I made an identical representation in the report I submitted with
the Court (ECF #115). In reality, I have never received any responses to the First Set.
I suspect that Mr. Noonan will not provide timely answers to the First Set, and that Yale
University intends not to provide these answers. I presume Mr. Noonan will claim that

a. he never received the First Set;

b. he has already provided the responses; or

c. an alternative excuse exists which, after careful consideration, is inconsistent with

the facts stated in this affidavit.

The First Set included questions about:

a. the number of students withdrawn from Yale College for academic reasons;

b. the number of students withdrawn from Yale College, no matter the reason;

c. how does Yale College knows this information.
Interrogatory No. 5 also asked Yale College to convince a reasonable individual unrelated
to this case that numbers it provided in (i) and (ii) have not been randomly generated.
I have probable cause to believe that Yale University does not know how many students
were withdrawn from Yale College, why they were withdrawn, or who was withdrawn. I
believe this information has not been compiled for years because compiling it would create
discoverable evidence in litigation by, for example, a student who was involuntarily

withdrawn from Yale College “for mental health reasons”.

AFFIDAVIT-JUNE-30-2020-0002
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Case 3:20-cv-00133-JCH Document 140-1 Filed 08/04/20 Page 3 of 3

I have not contacted Mr. Noonan about the First Set before I authenticated this affidavit

before the Notary Public whose name appears below.

I signed this affidavit in the presence of the Notary Public whose name appears below at
0 o ‘Lt a.m. / pom. Eastern Time on June 30, 2020 in New Haven, Connecticut.

I state under penalty of perjury that the foregoing is true and correct.

Pell Moss

Jakub Madej

 
   
   
 

Subscribed and sworn to me befre me this 30th day Says 2020.
Name of Notary Public: M AIT

GY 4)
Signature of Notary Public:

Date Commission Expires:

 

Stamp:
eR
MANJIT SINGH
NOTARY ie OF CONNECTICUT
‘ # 138404

My Conmiseton Expires 06/30/2024

 

 

 

 

 

 

AFFIDAVIT-JUNE-30-2020-0003
